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                               UNITED STATES DISTRICT COURT
                                    DISTRICT OF MAINE

   CITY OF BANGOR,                       )
                                         )
                 Plaintiff               )
                                         )
   v.                                    )                               Civil No. 02-183-B-S
                                         )
   CITIZEN COMMUNICATIONS                )
   COMPANY,                              )
                                         )
                 Defendant & Third       )
                 Party Plaintiff         )
                                         )
   v.                                    )
                                         )
   BARRETT PAVING MATERIALS, INC. et al, )
                                         )
                 Third Party Defendants. )

                         ORDER ON PENDING MOTIONS IN LIMINE

           Before the Court are the following motions in limine: (1) Plaintiff’s Motion in

   Limine to Exclude Expert Testimony (Docket # 510), (2) Defendant’s Motion in Limine

   to Introduce Evidence Regarding New Discovery of Tar-Like Material (Docket # 511),

   (3) Defendant’s Motion in Limine to Exclude Evidence of Contamination at Other

   Manufactured Gas Plants (Docket # 512), (4) Defendant’s Motion in Limine to Exclude

   Any Expert Testimony of Representatives of the Maine DEP (Docket # 514), (5)

   Defendant’s Motion in Limine to Exclude the Find ings of the Maine DEP

   (Docket # 515), and (6) Defendant’s Motion in Limine to Exclude Evidence of Historic

   Documents (Docket # 517). 1



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       At the September 7, 2005 hearing, the parties requested that the Court defer ruling on one motion in
   limine, Defendant’s Motion in Limine to Exclude New Expert Opinions (Docket # 513). Apparently, the
   parties are attempting to reach an agreement that may moot this Motion. The parties shall inform the Court
   at the start of trial as to whether they are withdrawing this motion or need the Court to issue a ruling.


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           As explained below, the Court offers the parties the following written preliminary

   rulings on these motions. All of these rulings are made without prejudice to a party

   renewing its objection at trial.

       (1) Plaintiff’s Motion in Limine to Exclude Expert Testimony (Docket # 510)

       Through this Motion, Plaintiff City of Bangor (“Bangor”) seeks to have the Court

   enforce its December 22, 2003 deadline for the designation of experts and thereby

   exclude Dr. George Baker. Defendant Citizens Communications Company (“Citizens”)

   originally designated Dr. Baker on February 2, 2004, contemplating that he would offer

   expert testimony on Citizens’ claims against various third-party defendants.

       By all accounts, Citizens did not specifically notify Bangor of its intentions to offer

   Dr. Baker as an expert in connection with the upcoming Phase One trial until April 2005

   (at the earliest). (See Def.’s Response (Docket # 525) at 4.)

       In short, Citizens’ attempt to offer Dr. Baker in the upcoming Phase One bench trial

   is a case of “too little, too late.”       Citizens did not comply with the relevant

   December 22, 2003 deadline, nor has it sought relief from that deadline in a timely

   manner in order to add Dr. Baker to its properly designated list of experts. See D. Me.

   Local Rule 16.2(e). On this basis, the Court GRANTS this Motion and EXCLUDES

   Dr. Baker and any other expert who was not properly designated from testifying at the

   upcoming Phase One trial.

       (2) Defendant’s Motion in Limine to Introduce Evidence Regarding New

           Discovery of Tar-Like Material (Docket # 511)

       At issue via this motion is the admissibility of evidence regarding a tar- like material

   that was only discovered in April 2005.          All sides have had access to this newly




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   discovered evidence and an opportunity to have it reviewed and tested by their designated

   experts. Through this motion, Citizens seeks permission to allow its experts to testify

   regarding this tar- like material at trial.

       In its response, Bangor states that the Court should grant this Motion and allow both

   sides to present expert testimony on this newly discovered evidence. In its reply, Citizens

   notified the Court that the parties have now reached agreement on this issue. Thus, the

   Motion is now MOOT.

       (3) Defendant’s Motion in Limine to Exclude Evidence of Contamination at

           Other Manufactured Gas Plants (Docket # 512)

       Through this motion, Citizens seeks to preemptively exclude all evidence or

   arguments “about other, unrelated manufactured gas plants, including evidence of alleged

   contamination at those other gas plants.” (Def.’s Mot. (Docket # 512) at 1.) Citizens

   asserts Federal Rules of Evidence 401, 402, 403 and 404(b) as bases for excluding this

   category of evidence. The Court is not prepared to issue such a blanket exclusion without

   the benefit of hearing the context in which Bangor proffers such evidence. For this

   reason, the Court DENIES this Motion without prejudice.

       In making this pre-trial ruling, the Court warns the parties that it will not allow the

   focus of this trial to become whether there may be contamination at the sites of other

   manufactured gas plants. Rather, this is an area in which the Court expects that the

   presentation will be duly limited pursuant to both Federal Rules of Evidence 403 and 611

   in order to avoid wasting the trial time allotted for this case.




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      (4) Defendant’s Motion in Limine to Exclude Any Expert Testimony of

         Representatives of the Maine DEP (Docket # 514)

         In its response to this Motion, Bangor indicated that it does not intend to elicit

      expert testimony from any Maine DEP witnesses and that it, in fact, agrees with

      Citizens that both parties should be prevented from using Maine DEP witnesses as

      experts. In light of the fact that there is no objection to the Motion, the Court

      GRANTS the Motion and hereby orders that testimony by any Maine DEP witness be

      limited to lay testimony based on each witness’ personal knowledge.

      (5) Defendant’s Motion in Limine to Exclude the Findings of the Maine DEP

         (Docket # 515)

         Through this Motion, Citizens seeks exclusion of the Maine DEP’s March 3, 2004

      Designation of Uncontrolled Hazardous Substance Site (the “Interim Order”), as well

      as testimony regarding the findings contained in the Interim Order. Citizens argues

      that this document is too untrustworthy to fall under the public records exception to

      the hearsay rule. See F.R.E. 803(8). In addition, Citizens argues for exclusion under

      F.R.E. 403.

         In short, the Court is satisfied that the Interim Order can be admitted pursuant to

      F.R.E. 803(8). The issues highlighted by Citizens ultimately go to the weight that

      will be given to those findings and are fodder for cross-examination, not a basis for

      exclusion.    For this reason, the Court DENIES this Motion without prejudice to

      Defendant renewing its F.R.E 403 objections at trial.




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      (6) Defendant’s Motion in Limine to Exclude Evidence of Historic Documents

         (Docket # 517)

         Thorough the Motion, Citizens seeks to preclude Bangor from introducing various

      historical documents from the early twentieth century, which apparently include

      journal articles and reports to subcommittees of the American Gas Association.

      Some or all of the documents were apparently relied upon by various experts. Of

      course, this reliance does not make the documents admissible. See F.R.E. 703.

         As Citizens notes in its motion papers, this Motion, to some degree, overlaps with

      its Motion in Limine to Exclude Evidence of Contamination at Other Manufactured

      Gas Plants (Docket # 512). Given the overlap, it is perhaps not surprising that the

      Court has reached a similar conclusion after reviewing the parties’ submissions in

      connection with this motion; namely, the Court is not prepared to exclude all

      historical documents from trial without the benefit of hearing the context in which the

      documents may be relevant and admissible. On that basis, the Court DENIES this

      Motion without prejudice to the objection being renewed when, and if, Bangor

      attempts to offer any historical documents at trial.



         Finally, it is clear from the above motions in limine, as well as from the Daubert

      hearings, that there are genuine issues of dispute that will consume substantial trial

      time in the upcoming bench trial. In order to focus the upcoming bench trial on these

      issues and ensure that both sides have adequate time to present and cross-examine the




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      relevant witnesses, the parties are again urged to enter into stipulations regarding any

      facts or foundational issues as to which there is no dispute.



          SO ORDERED.

                                                       /s/ George Z. Singal
                                                Chief United States District Judge

   Dated this 7th day of September 2005.




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